                                UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF KANSAS AT KANSAS CITY

 In re:

 Pinnacle Regional Hospital, Inc.,                        Case No. 20-20219

 Debtor.                                                  Chapter 7




                         NOTICE OF OBJECTION DEADLINE AND
                     OPPORTUNITY FOR NON-EVIDENTIARY HEARING

          PLEASE TAKE NOTICE THAT on September 21, 2022, James A. Overcash, Chapter 7

Trustee (the “Trustee”) of Pinnacle Regional Hospital, Inc., Pinnacle Health Care Systems, Inc.,

Blue Valley Surgical Associates, Rojana Realty Investments, Inc. and Joy’s Majestic Paradise,

Inc. filed the Motion Under Rule 9019 of the Federal Rules of Bankruptcy Procedure to Approve

Proposed Settlement with Covidien LP (the “Motion”).

          PLEASE TAKE FURTHER NOTICE THAT, if you wish to object to the relief requested

in the Motion, you must file your written objection and serve it on the Trustee, the Unsecured

Creditors Committee and the United States Trustee on or before October 12, 2022.

          PLEASE TAKE FURTHER NOTICE THAT, if an objection to the Motion is timely filed,

a non-evidentiary hearing on the Motion will be set for Thursday November 10, 2022 at 1:45 p.m.

(prevailing Central Time) (the “Hearing”).

          PLEASE TAKE FURTHER NOTICE THAT, if no objection to the Motion is filed on or

before October 12, 2022, the Court may grant the relief requested in the Motion without further

notice or hearing.

          Dated this 21st day of September, 2022.


                                               Respectfully submitted,



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                                         STINSON LLP

                                         By: __/s/ Michael P. Pappas
                                         Nicholas J. Zluticky, KS #23935
                                         Michael P. Pappas. D. Kan. #78856
                                         1201 Walnut, Suite 2900
                                         Kansas City, MO 64106
                                         Telephone: (816) 842-8600
                                         Facsimile: (816) 691-3495
                                         nicholas.zluticky@stinson.com
                                         michael.pappas@stinson.com

                                         COUNSEL FOR THE CHAPTER 7 TRUSTEE




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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on September 21, 2022, the foregoing document was

electronically filed with the court using the CM/ECF system, which sent notification to all parties

of interest participating in the CM/ECF System. Further, I certify that copies of the foregoing

document were forwarded via U.S. Mail, first class, postage prepaid and properly addressed to the

following on September 21, 2022:

 Office of the United States Trustee              Centinel Spine, LLC
 301 North Main Suite 1150                        c/o Moritt Hock & Hamroff LLP
 Wichita, KS 67202                                Moritt Hock & Hamroff
                                                  400 Garden City Plaza
                                                  Garden City, NY 11530

 Amanda M. Wilwert                                Dan Ray Nelson on behalf of Creditor
 Foulston Siefkin, LLP                            Premier Specialty Network, LLC
 9225 Indian Creek Parkway                        300 S. John Q. Hammons Pkwy
 Suite 600                                        Suite 800
 Overland Park, KS 66210                          Springfield, MO 65806




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Label Matrix for local noticing              Great Western Bank                            Lighthouse Business Information Solutions, L
1083-2                                       c/o Spencer Fane LLP                          3400 Menaul Blvd NE, Ste 200
Case 20-20224                                Andrea Chase                                  Albequerque, NM 87107-1818
District of Kansas                           1000 Walnut
Kansas City                                  Suite 1400
Mon Sep 19 14:11:00 CDT 2022                 Kansas City, MO 64106-2168
Missouri Department of Revenue               Pinnacle Healthcare System, Inc.              3M
Bankruptcy Unit                              12880 Metcalf Avenue                          Dept 0881
PO Box 475                                   Overland Park, KS 66213-2622                  P.O. Box 120881
Jefferson City, MO 65105-0475                                                              Dallas TX 75312-0881


A-Chem                                       ACI Boland, Inc.                              ACS Data Search
12001 McKee N. Road                          1710 Wyandotte                                P.O. Box 12587
Excelsior Springs MO 64024-8399              Kansas City MO 64108-1217                     Overland Park KS 66282-2587



AFLAC                                        AGFA US Corp                                  AMBU, Inc.
1932 Wynnton Road                            10, South Academy Street                      P.O. Box 347818
Columbus GA 31999-0002                       Greenville SC 29601-2632                      Pittsburgh PA 15251-4818



ARJO Inc.                                    AT&T Mobility                                 Abbott Labs
2349 W. Lake Street                          P.O. Box 650553                               22400 Network Place
Suite 250                                    Dallas TX 75265-0553                          Chicago IL 60673-1224
Addison IL 60101-6188


Ability Network, Inc.                        Accord Financial, Inc.                        Accutype Medical Services, Inc
PO Box 856015                                P.O. Box 6704                                 10300 W. 103rd Street
Minneapolis MN 55485-6015                    Greenville SC 29606-6704                      Overland Park KS 66214-2642



Acme Sign                                    Advanced Disposal                             (p)ADVANCED MEDICAL SALES INC
1313 Vernon                                  P.O. Box 74008053                             216 AVENIDA FABRICANTE #110
Kansas City MO 64116-4422                    Chicago IL 60674-8053                         SAN CLEMENTE CA 92672-7559



Advanced Plan Design                         Aegis Fire Protection, LLC                    Aesculap
3859 S. Cox Ave                              11936 W. 119th                                24630 Network Place
Springfield MO 65807-8603                    Suite 262                                     Chicago IL 60673-1246
                                             Overland Park KS 66213-2216


Aetna Sr. Supplemental Ins                   Alcon Laboratories, Inc.                      Alexander Open Systems
C/O Asset Protection Unit, inc               P.O. Box. 677775                              P.O. Box 872380
P.O. Box 30969                               Dallas TX 75267-7775                          Kansas City MO 64187-2380
Amarillo TX 79120-0969


Allergan USA                                 Allied Benefit Systems, Inc.                  Allscripts
12975 Collection Center Drive                200 West Adams                                2463- Network Place
Chicago IL 60693-0129                        Ste 500                                       Chicago IL 60673-1024
                                             Chicago IL 60606-5215
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American Academy of Sleep Med              American Dictation Corp.                       American Family Mutual Ins.
2510 North Frontage Road                   155 South Street                               P.O. Box 310503
Darien IL 60561-1511                       P.O. Box 548                                   Des Moines IA 50331-0503
                                           Wrentham MA 02093-0548


American Medical Association               American Proficiency Institute                 (p)SURGICAL INFORMATION SYSTEMS LLC
P.O. Box 74008935                          Dept. 9526                                     ATTN LEGAL DEPARTMENT
Chicago IL 60674-8935                      P.O. Box 30516                                 100 NORTH POINT CENTER EAST SUITE 125
                                           Lansing MI 48909-8016                          ALPHARETTA GA 30022-8214


Anthem Blue Cross Blue Shield              Apollo Endosurgery, Inc.                       Armstrong Medical
P.O. Box 645438                            32663 Collection Center Drive                  575 Knightsbridge Pkwy
Cincinnati OH 45264-5438                   Chicago IL 60693-0001                          P.O. Box 700
                                                                                          Lincolnshire IL 60069-0700


Artech Environmental                       Arthrex Inc                                    Arthrex Inc.
8047 Castleton Road                        14550 Plantation Rd                            PO Box 403511
Indianapolis IN 46250-2004                 Fort Myers, FL 33912-4328                      Atlanta GA 30384-3511



Ashton Bergh                               B-Line Medical, LLP                            B.W.S.C., LLC
8385 Renner Blvd, Apt 1402                 132 Beach 92nd Street                          C/O Rubenstein Real Estate
Lenexa KS 66219-3108                       Suite 2B                                       5310 Lamar
                                           Far Rockaway NY 11693-1689                     Ste 220
                                                                                          Mission KS 66202-1656

BKD                                        BTX KS, Inc                                    BankCard Center
14241 Dallas Pkwy                          11201 Strangline Road                          P.O. Box 4021
Suite 110                                  Lenexa KS 66215-4040                           Alameda CA 94501-0421
Dallas TX 75254-2945


Barton Associates                          Baxter                                         Baylis Medical
P.O. Box 417844                            P.O. Box 730531                                5659 Trans-Canada Hwy
Boston MA 02241-7844                       Dallas TX 75373-0531                           Quebec, Canada H4T 1A!



Beck-Lee Inc.                              Beckman Coulter, Inc.                          Bell Medical, Inc.
P.O. Box 528                               Dept. CH 10164                                 P.O. Box 771470
Stratford CT 06615-0528                    Palatine IL 60055-0001                         Saint Louis MO 63177-2470



BioAccess Inc.                             Bioventus, LLC                                 Blue Cross and Blue Shield
4000 Hudson Street                         P.O. Box 732823                                P.O. Box 105557
Baltimore MD 21224-5213                    Dallas TX 75373-2823                           Atlanta GA 30348-5557



Boehringer Laboratories, LLC               Boston Scientific                              Bracco Diagnostics, Inc.
300 Thoms Drive                            P.O. Box 951653                                P.O. Box 532411
Phoenixville PA 19460-6117                 Dallas TX 75395-1653                           Charlotte NC 28290-0001

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Bridging The Gap Interpreting              Briggs HealthCare                             Brit Systems
10940 Parallel Pkwy                        4900 University Ave                           3102 Oak Lawn Ave
Suite K285                                 Ste 200                                       #400
Kansas City KS 66109-4434                  West Des Moines IA 50266-6733                 Dallas TX 75219-6403


Business Card                              C.R. Bard, Inc.                               CRF Solutions
P.O. Box 15796                             P.O. Box 75767                                P.O. Box 1389
Wilmington DE 19886-5796                   Charlotte NC 28275-0767                       Simi Valley CA 93062-1389



CT Corporation                             CTL Medical Corporation                       Cardinal Health Medical Prod
P.O. Box 4349                              CTL Amedica                                   P.O. Box 70539
Carol Stream IL 60197-4349                 6505 West Park Blvd #306-362                  Chicago IL 60673-0539
                                           Plano, TX 75093-6212


Centinel Spine                             Central Bio-Medical, Inc.                     (p)CENTRAL DISTRICT ALARM INC
P.O. Box 207368                            P.O. Box 780372                               6450 CLAYTON AVE
Dallas TX 75320-7368                       Wichita KS 67278-0372                         ST LOUIS MO 63139-3300



CenturyLink                                (p)CHOICE SPINE LLC                           Christopher Timmer DC PA
P.O. Box 4300                              ATTN CHOICE SPINE LLC                         15203 W. 87th St. PKWY
Carol Stream IL 60197-4300                 400 ERIN DRIVE                                Lenexa KS 66219-1409
                                           KNOXVILLE TN 37919-6205


Cigna                                      Cigna/Accent                                  Cobex Recorders, Inc.
PO Box 188061                              P.O. 952366                                   6601 Lyons Road
Chattanooga TN 37422-8061                  Saint Louis MO 63195-2366                     Suite F7
                                                                                         Pompano Beach FL 33073-3622


Collect RX                                 Comcast                                       (p)NEW YORK BLOOD CENTER INC
6720 Rockledge Dr., Twr B                  P.O. Box 35170                                ATTN DBA COMMUNITY BLOOD CENTER OF GREATER KA
Suite 600                                  Seattle WA 98124-5170                         4040 MAIN ST
Bethesda MD 20817-1883                                                                   KANSAS CITY MO 64111-2308


Compumedics USA, Inc.                      Computer Aided Tech, LLC                      ConMed Linvatec
5015 West W.T. Harris Blvd                 1655 Arlington Height Road                    P.O. Box 301231
Suite E                                    Ste 101                                       Dallas TX 75303-1231
Charlotte NC 28269-1860                    Buffalo Grove IL 60089


Cooper Surgical, Inc.                      Corcom Communications                         Coventry Healthcare of Kansas
P.O. Box 712280                            P.O. Box 17236                                9401 Indian Creek Pkwy
Cincinnati OH 45271-2280                   Reno NV 89511-7236                            Ste 1300
                                                                                         Overland Park KS 66210-2021


Covidien                                   Culligan Water Conditioning                   Culligan of Greater Kansas Cit
Dept. 00 10318                             1801 Commerce Ct.                             PO Box 2170
Palatine IL 60055-0001                     Columbia MO 65202-3703                        Olathe KS 66051-2170

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Cummins Sales and Service                   DJO Global                                   DMI Solutions, Inc.
PO Box 310397                               P.O. box 6507777                             1717 W. Maud St
Des Moines IA 50331-0397                    Dallas TX 75265                              Poplar Bluff MO 63901-4003



Da-Com Digital Office Solution              De Lage Landen                               Delta Dental of Kansas
2602-A North Stadium Blvd.                  C/O Advance Recovery Systems                 P.O. Box 3806
Columbia MO 65202-1271                      P.O. Box 80766                               Wichita KS 67201-3806
                                            Valley Forge PA 19484-0766


Dept of Veterans Affairs                    Dept. of Social Services                     (p)JOHNSON & JOHNSON HEALTH CARE SYSTEMS INC
PO Box 469062                               PO Box 1116                                  ATTN DAVID ROBERTS
Denver CO 80246-9062                        Jefferson City MO 65102-1116                 8800 GRAND OAK CIRCLE
                                                                                         TAMPA FL 33637-2006


Diversatek Healthcare, Inc.                 Domain Listings                              DrFirst
27270 Network Place                         P.O. Box 19607                               P.O. Box 791487
Chicago IL 60673-1272                       Las Vegas NV 89132-0607                      Baltimore MD 21279-1487



Dylan Corporate Services Inc                Easy Application Systems                     Ecolab
4000 W 114th Street, Suite 140              3325 Grant Cove Circle                       26252 Network Place
Leawood, KS 66211-2656                      #203                                         Chicago IL 60673-1262
                                            Cape Coral FL 33991-3352


Edge Pharmacy Services LLC                  Elite Promotions                             Elite Spine Care of Kansas Cty
856 Hercules Drive                          545 S. Union                                 12870 Metcalf Ave
Suite 30                                    Springfield MO 65802-2659                    Overland Park KS 66213-2622
Colchester VT 05446-8014


Ellis Ellis Hammons & Johnson               Evergy                                       Experian Health
901 St. Louis Street                        P.O. Box 219330                              P.O. Box 886133
Suite 600                                   Kansas City MO 64121-9330                    Los Angeles CA 90088-6133
Springfield MO 65806-2561


FFF Enterprises, Inc.                       FSMB                                         Faultless Linen
P.O. Box 840150                             400 Fuller Wiser Rd                          P.O. Box 802786
Los Angeles CA 90084-0150                   A/R PDC                                      Kansas City MO 64180-2786
                                            Euless TX 76039-3856


FavMor Media, LLC                           FedEx                                        Federal Employee Program
P.O. Box 403                                P.O. Box 271461                              Central Region CCOA Lockbox
Harrisonville MO 64701-0403                 Pittsburgh PA 15250-0001                     PO Box 73651
                                                                                         Cleveland OH 44193-1177


Fisher HealthCare                           Flowonix Medical, Inc.                       ForTec Medical, Inc.
13551 Collections Ctr Dr.                   500 International Drive                      P.O. Box. 951147
Chicago IL 60693-0135                       Ste 200                                      Cleveland OH 44193-0005
                                            Budd Lake NJ 07828-1381
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Forbes Law Group                              GE Healthcare                                   GE Healthcare Fin. Serv
6900 College Blvd                             P.O. Box. 640200                                P.O. Box 641419
Ste 840                                       Pittsburgh PA 15264-0200                        Pittsburgh PA 15264-1419
Leawood KS 66211-1843


GEMed Sys Ultrasound Primary                  GSK                                             GlaxoSmithKline Pharmaceutical
P.O. Box. 74008831                            P.O. Box 740415                                 PO BOX 740415
Chicago IL 60674-8831                         Atlanta GA 30374-0415                           Atlanta GA 30374-0415



Great Western Bank                            Health Technologies                             Health efilings LLC
Peter Riggs c/o Spencer Fane LLP              84467 Page Ave                                  7617 Mineral Pt Road
1000 Walnut Street Ste 1400                   Saint Louis MO 63130                            Ste 200
Kansas City MO 64106-2168                                                                     Madison WI 53717-1623


HealthLink, Inc.                              Healthmark Industries Co Ins                    Heartland Biomed, LLC
P.O. Box 6501                                 P.O. Box 30516                                  22620 Farm Road
Carol Stream IL 60197-6501                    Dept 7058                                       Peculiar MO 64078-9343
                                              Lansing MI 48909-8016


Heartland Medical Solution                    Hil-Rom                                         Hitachi Healthcare Americas Co
23708 W. 83rd Terrace                         P.O. Box 643592                                 Dept 781378
Lenexa KS 66227-3138                          Pittsburgh PA 15264-3592                        P.O. Box 78000
                                                                                              Detroit MI 48278-0001


IAHCSMM                                       IMA, Inc NE KS Division                         IPFS Corporation
55 West Wacker Dr.                            9393 W. 110th Street                            National Accts
Ste 501                                       51 Corporate Woods                              PO Box 41900
Olathe KS 66061                               Ste 600                                         Kansas City MO 64141
                                              Overland Park KS 66210

In2itive, LLC                                 InfuSystem                                      Integra Lifesciences Corp.
6330 Sprint Pkwy                              P.O. Box 204471                                 PO Box 404129
Suite 425                                     Dallas TX 75320-4471                            Atlanta GA 30384-4129
Leawood KS 66211-1194


Integrated Science Support Inc                Intelligent Medical Objects In                  JCMG Administratrive Div
14464 N. 169 Hwy                              PO Box 3575                                     1241 W. Stadium Blvd
Smithville MO 64089                           Carol Stream IL 60132-3575                      Jefferson City MO 65109-6023



Jerry Merola                                  KCI USA                                         KEGO Corporation USA
Greenberg & Merola, LLP                       PO Box 301557                                   9850 Van Allmen Court
2280 Grand Ave., Ste. 220                     Dallas TX 75303-1557                            Ste 201
Baldwin, NY 11510-3110                                                                        Louisville KY 40241-2855


Kansas Hospital Association                   Kansas State Board of Pharmacy                 Karen L Whitmer
215 E. 8th Ave                                800 SW Jackson,                                c/o Johnson Legal Network, PLLC
Topeka KS 66603-3906                          Rm 1414                                        535 Wellington Way, Suite 380
                                              Topeka KS 66612-1231                           United States
                                   Case 20-20219    Doc# 831          Filed 09/21/22   Page 8Lexington,
                                                                                               of 14 KY 40503-1389
Kemper Medical Inc.                         Konica Minolta Helathcare Amer                 Kutak Rock, LLP
PO Box 298                                  Dept CH 10897                                  P.O. Box 30057
Medford OR 97501-0020                       Palatine IL 60055-0001                         Omaha NE 68103-1157



LLC Wholesale Supply, LLC                   Laboratory Corp of America Hld                 Lamp
1829 W. Drake Dr.                           P.O. Box 12140                                 8050 Watson Road
Ste 102                                     Burlington NC 27216-2140                       Ste 340
Tempe AZ 85283-4320                                                                        Saint Louis MO 63119-5387


Landauer, Inc.                              Lathrop Gage                                   Law Office of Daniel Stuart P.
PO Box 809051                               10851 Mastin Blvd                              4707 College Boulevard
Chicago IL 60680-9051                       Bldg 80, Ste 1000                              Ste 208
                                            Overland Park KS 66210-1687                    Leawood KS 66211-2081


Liberty Mutual Insurance                    Lifeline Pharmaceuticals, LLC                  Lighthouse Business Info Solut
100 Liberty Way                             1301 NW 84th Ave                               8100-MR Wyoming Blvd NE
Dover NH 03820-4597                         Suite 101                                      Ste 230
                                            Miami FL 33126-1516                            Albuquerque NM 87111


Lydias Professional Uniforms                MD ELECTRODIAGNOSIS                            MO Healthnet Division
2547 Three Miles Road N.W.                  2330 E. Meyer Blvd                             PO Box 6500
Ste F                                       Ste 1107                                       Jefferson City MO 65102-6500
Grand Rapids MI 49534-1358                  Kansas City MO 64132-1132


MOHN                                        MPD Medical Systems, Inc.                      Magers Elite Cleaning LLC
P.O. Box 8550                               P.O. Box 6004                                  2846 N. Neergard Ave
Madison WI 53708-8550                       Wauconda IL 60084-6004                         Springfield MO 65803-6314



Magnacoustics                               Mail Services, LLC                             Masimo Americas, Inc.
1995 Park Street                            4100 121st Street                              28932 Network Place
Atlantic Beach NY 11509-1243                Urbandale IA 50323-2334                        Chicago IL 60673-1289



McDowell Rice Smith & Buchanan              McKesson Medical Surgical                      Med-Pay
605 W. 47th Street                          PO Box 933027                                  P.O. Box 10909
Suite 350                                   Atlanta GA 31193-3027                          Springfield MO 65808-0909
Kansas City MO 64112-1900


MedTox Laboratories, Inc.                   MedTrainer                                     Medartis, Inc.
PO Box 8107                                 555 Cajon St                                   224 Valley Creek Blvd
Burlington NC 27216-8107                    Ste A                                          Ste 100
                                            Redlands CA 92373-5980                         Exton PA 19341-2300


Medevac Mid-America Inc                     Media Pages                                    Medical Information Technology
P.O. Box 847199                             28364 South Western Ave                        PO Box 74569
Dallas TX 75284-7199                        #28                                            Chicago IL 60696-8569
                                            Rancho Palos Verdes CA 90275-1434
                                 Case 20-20219    Doc# 831           Filed 09/21/22   Page 9 of 14
Medical Information Technology, Inc.         Meditech                                       Medivators Inc
1 MEDITECH Circle                            P.O. Box 745 69                                N.W. 9841
Westwood, MA 02090-1542                      Chicago IL 60696-8569                          P.O. Box 1450
                                                                                            Minneapolis MN 55485-1450


Medix Staffing Solutions, Inc.               (p)MEDLINE INDUSTRIES INC                      Menorah Medical Center Medical
7839 Solution Center                         ATTN ANNE KISHA                                5721 W. 119th St
Chicago IL 60677-0001                        ONE MEDLINE PL                                 Attn medical Staff Services
                                             MUNDELEIN IL 60060-4486                        Leawood KS 66209-3753


Metropolitan Surgical Associat               MiMedx Group, Inc.                             Midwest Compounders Pharmacy
11401 Nall Ave                               1775 West Oak Commons CT NE                    13330 Santa Fe Trail Driv
Ste 216                                      Marietta GA 30062-2254                         Lenexa KS 66215-3653
Leawood KS 66211-1850


Midwest MUA Assoc. LLC                       Midwest Retina Associates, Inc                 Midwest Vascular Access, LLC
9393 W. 110th Street                         1010 Carondolet Dr                             8005 W. 110 St
Overland Park KS 66210-1464                  Ste 340                                        Ste 210
                                             Kansas City MO 64114-4823                      Overland Park KS 66210-2619


Mindray DS USA, Inc.                         Missouri Department of Revenue                 NRC Health
24312 Network PL                             PO Box 475                                     PO Box 899030
Chicago IL 60673-1243                        Jefferson City, MO 65105-0475                  Chicago IL 60680



NUSO, LLC                                    National Business Furniture                    Network Innovations
PO Box 790379                                PO Box 514052                                  2012 Prairie Circle
Saint Louis MO 63179-0379                    Milwaukee WI 53203-3452                        Ste B
                                                                                            Olathe KS 66062-1204


Nevro Corp                                   New York Life                                  NextPage, Inc.
PO Box 845694                                PO Box 500                                     PO Box 412814
Dallas TX 75284-5694                         Minneapolis MN 55440-0500                      Kansas City MO 64141-2814



Nielsen Healthcare Group, Inc.               Nihon Kohden America, Inc.                     Northfield Medical,Inc.
12166 Old Big Bend                           6017 Solutions Center                          PO Box 671123
Ste 201                                      Lockbox #776017                                Dallas TX 75267-1123
Saint Louis MO 63122-6843                    Chicago IL 60677-6017


Nuvectra Corporation                         (p)GE HEALTHCARE                               Olympus America, Inc.
Dept 3565                                    3000 N GRANDVIEW BLVD                          Dept 0600
PO Box 123565                                WAUKESHA WI 53188-1615                         P.O. Box 120600
Dallas TX 75312-3565                                                                        Dallas TX 75312-0600


Omnicell                                     Optima Pain Management LLC                     Optum360
PO Box 204650                                1116 W. 121st Terr                             PO Box 88050
Dallas TX 75320-4650                         Overland Park KS 66213                         Chicago IL 60680-1050

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Ortho-Clinical Diagnostics                  OrthoFix                                      OsteoMed
PO Box 3655                                 P.O. Box 842452                               2241 Collection Center Drive
Carol Stream IL 60132-3655                  Dallas TX 75284-2452                          Chicago IL 60693-0001



Owens and Minor                             P1 Group Inc                                  Patterson Medical Supply Inc
PO Box 841420                               13605 W. 96th Terr                            PO Box 21773
Dallas TX 75284-1420                        Lenexa KS 66215-1253                          Chicago IL 60673-0001



Pay-LESS Office Products, Inc.              Performance Health Supply, Inc                Perfusion.com Inc.
PO Box 390157                               PO Box 93040                                  17080 Safety Street
Omaha NE 68139-0157                         Chicago IL 60673-3040                         Suite 109
                                                                                          Fort Myers FL 33908-7506


Persivia, Inc.                              Pfizer, Inc.                                  Phillips Healthcare
4 Mount Royal Ave                           235 E 42nd Street                             P.O. Box 100355
4th Floor                                   New York NY 10017-5703                        Atlanta GA 30384-0355
Marlborough MA 01752-1961


Pinnacle Plus                               Pitney Bowes Global Fin Svcs                  Polsinelli PC
8653 Twincrest Dr                           PO Box 371887                                 PO Box 878681
Saint Louis MO 63126                        Pittsburgh PA 15250-7887                      Kansas City MO 64187-8681



Praxair CA                                  Precision Products Group, Inc.                Pro Solutions, LLC
Dept LA 21511                               P.O. Box 80400                                PO Box 46019
Palatine IL                                 Fort Wayne IN 46898-0400                      Houston TX 77210-6019



Proforma                                    Property Valuation Services                   Propharma Distribution
PO Box 51925                                1440 Metcalf                                  1005 Dover Str
Los Angeles CA 90051-6225                   Overland Park KS 66223                        Suite 1000
                                                                                          Broomfield CO 80021


Providers Insurance Consultant              Purchase Power                                Putnam Orthopedic Center, LLC
16052 Singley Ridge Road                    PO Box 371874                                 4350 S National Ave
Suite 125                                   Pittsburgh PA 15250-7874                      Suite C-200
Chesterfield MO 63017-2079                                                                Springfield MO 65810-2782


Quest Diagnostics                           R&G Solutions                                 REMedy Sleep Medicine, LLC
PO BOX 772976                               1153 SE Century Drive                         15621 W. 87th Street
Chicago IL 60677-0276                       Lees Summit MO 64081-3283                     Ste 221
                                                                                          Lenexa KS 66219-1435


RTI Surgical                                Radsource Imaging Technology                  Radsource LLC
P.O. Box 73431                              8121 NW 97th Terrace                          750 Old Hickory Blvd
Chicago IL 60673-7431                       Kansas City MO 64153-1820                     Suite 1-260
                                                                                          Brentwood TN 37027-4521
                                 Case 20-20219   Doc# 831          Filed 09/21/22   Page 11 of 14
(p)RECORDATION INC                          Renco Corp                                     Respironic, Inc.
ATTN WILLIAM MCCURDY                        PO Box 412                                     PO Box 40570
54 BODWELL ST REAR                          Manchester MA 01944-0412                       Atlanta GA 30384-0001
AVON MA 02322-1193


(p)RHYCOM INC                               Robert C. Levy Esq                             Robert Pruitt MD
10975 BENSON DRIVE                          9200 Indian Creek Parkway                      10028 Perry Drive
SUITE 220                                   Suite 400                                      Overland Park KS 66212-5418
OVERLAND PARK KS 66210-2120                 Overland Park KS 66210-2095


SPH Analytics                               Sage Products, LLC                             Sanofi Pasteur, Inc.
PO Box 526                                  2785 Paysphere Circle                          12458 Collections Center Dr
Duluth GA 30096-0010                        Pocahontas IA 50574                            Chicago IL 60693-0001



Selection Rehabilitation                    Siemens Healthineers                           Skepnek Law Firm P.A.
PO Box 8099056                              P.O. Box 121102                                1 Westwood Rd
Chicago IL 60680                            Dallas TX 75312-1102                           Lawrence KS 66044-4561



Sleeping Arms Anethesia                     Sole Support Inc.                              Southwest Medical
32109 E Stony Point School Roa              PO Box 400                                     21900 E. 96th Street
Grain Valley MO 64029-8462                  Bon Aqua TN 37025-0400                         Broken Arrow OK 74014-5903



Steris Corporation                          Stimwave, LLC                                  Streck, Inc.
P.O. Box 676548                             1310 Park Central Blvd S                       PO Box 45625
Dallas TX 75267-6548                        Pompano Beach FL 33064-2217                    Omaha NE 68145-0625



Stryker Communications                      Stryker Flex Financial                         Stryker Sales Corp
22491 Network Place                         25652 Network Place                            PO Box 93308
Chicago IL 60673-1224                       Chicago IL 60673-1256                          Chicago IL 60673-3308



Stryker Sustainability Solutio              Surgical Advantage                             TACORE Medical
PO Box 29387                                PO Box 35565                                   PO Box 1344
Phoenix AZ 85038-9387                       Tulsa OK 74153-0565                            Lake Dallas TX 75065-1344



TD&T CPAs and Advisors PC                   TIAA Bank                                      Tallgrass Technologies, LLC
1245 Jordan Creek Parkway                   P.O. Box 911608                                c/o Andrew J. Nazar
Suite 100                                   Denver CO 80291-1608                           Polsinelli PC
West Des Moines IA 50266-2343                                                              900 West 48th Place, Suite 900
                                                                                           Kansas City, MO 64112-1899

The SSI Group, Inc.                         The Wooten Company, LLC                        Third Coast Comm. Capital, Inc
PO Box 11407                                1675 East Seminole                             PO Box 14810
Dept 2455                                   Ste B                                          Humble TX 77347
Birmingham AL 35246-3035                    Springfield MO 65804-2454
                                 Case 20-20219   Doc# 831           Filed 09/21/22   Page 12 of 14
Trane US Inc.                                Triage                                         Tricare West Region
PO Box 60693-8167                            12020 Pacific Street                           PGBA, LLC Tricare Refunds
                                             Omaha NE 68154-3507                            P.O. Box 202111
                                                                                            Florence SC 29502-2111


U.S. Trustee                                 US Bank Equip Finance                          US Compounding, Inc.
Office of the United States Trustee          PO Box 790448                                  PO Box 2709
301 North Main Suite 1150                    Saint Louis MO 63179-0448                      1270 Dons Lane
Wichita, KS 67202-4811                                                                      Conway AR 72032-4753


USOC Bio Medical                             United Healthcare                              (p)INTERNAL REVENUE SERVICE
20 Morgan                                    PO Box 101760                                  CENTRALIZED INSOLVENCY OPERATIONS
Irvine CA 92618-2022                         Atlanta GA 30392-1760                          PO BOX 7346
                                                                                            PHILADELPHIA PA 19101-7346


Verathon, Inc.                               Verity Stream                                  Vertiflex
PO Box 935117                                P.O. Box 1171130                               Dept 3662
Atlanta GA 31193-5117                        Atlanta GA 30368-0001                          PO Box
                                                                                            Dallas TX 75312-0001


WATERLOGIC                                   WPS Government Health Administ                 WageWorks, Inc.
PO BOX 677867                                PO Box 8215                                    PO Box 45772
Dallas TX 75267-7867                         Madison WI 53708-8215                          San Francisco CA 94145-0772



Waystar                                      Werfen USA LLC                                 White Oak Investors, LLC
1311 Solutions Center                        PO Box 347934                                  PO Box 411299
Chicago IL 60677-1003                        Pittsburgh PA 15251-4934                       Kansas City MO 64141-1299



Windstream                                   Wright Medical Technology, Inc                 XTant Medical
PO Box 9001950                               PO box 503482                                  Dept CH 16872
Louisville KY 40290-1950                     Saint Louis MO 63150-3482                      Palatine IL 60055-0001



Z & Z Medical, Inc.                          Zack Group                                     Zebra Technologies Internation
1924 Adams Street                            6600 College Blvd                              3 Overlook Point
Cedar Falls IA 50613-4273                    Ste 300                                        Lincolnshire IL 60069-4302
                                             Leawood KS 66211-1869


Zimmer US Inc.                               Zoll Medical Corporation                       eScreen, Inc.
75 Remittance Drive                          PO Box 27028                                   P.O. Box 654094
Suite 6931                                   New York NY 10087-7028                         Dallas TX 75265-4094
Chicago IL 60675-6931


James A. Overcash                            Jonathan A. Margolies
James A. Overcash,Trustee                    McDowell Rice Smith & Buchanan
301 South 13th Street, Ste 500               605 W 47th Street
Woods Aitken LLP                             Kansas City, MO 64112-1900
Lincoln, NE 68508-2546            Case 20-20219   Doc# 831           Filed 09/21/22   Page 13 of 14
                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Advanced Medical Sales                                 Amkai, LLC                                           Central District Alarm, Inc.
216 Avenida Fabricante #110                            P.O. Box 930484                                      6450 Clayton Ave
San Clemente CA 92672                                  Atlanta GA 31193                                     Saint Louis MO 63139



Choice Spine                                           Community Blood                                      Depuy Synthes Sales, Inc.
400 Erin Drive                                         P.O. Box 26147                                       5972 Collections Cntr Dr
Knoxville TN 37919                                     Overland Park KS 66225                               Chicago IL 60693



(d)J & J Health Care Systems, Inc                      Medline                                              OEC Medical Systems, Inc.
5972 Collections Center Drive                          Dept 1080                                            2984 Collections Center Drive
Chicago IL 60693                                       P.O. Box 121080                                      Chicago IL 60693
                                                       Dallas TX 75312


Recordation Inc.                                       Rhycom, Inc.                                         United States Treasury
54 Bodwell Street                                      10975 Benson Drive                                   Internal Revenue Services
Ste 1                                                  Ste 220                                              Cincinnati OH 45999
Avon MA 02322                                          Overland Park KS 66210




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Tallgrass Technologies, LLC                         (d)Dylan Corporate Services, Inc.                    (u)Humana Health Care Plans
                                                       4000 W. 114th Street                                 PO Box 931655
                                                       Ste 140                                              GA 31183-1655
                                                       Leawood KS 66211-2656


End of Label Matrix
Mailable recipients     298
Bypassed recipients       3
Total                   301




                                                                                                     /s/ Michael P. Pappas
                                                                                                     Counsel for Trustee




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